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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 CHRISTOPHER ADAM ERWIN,                                )
                                                        )
                 Plaintiff,                             )
                                                        )
       v.                                               )             Case No. 22-CV-3170-JWL
 JEFF ZMUDA, et al.,                                    )
                                                        )
                 Defendants.                            )
                                                        )


                  REPORT IN “MARTINEZ VS AARON” INVESTIGATION
                             CIVIL RIGHTS COMPLAINT

       COMES NOW, counsel undersigned for the Kansas Department of Corrections (KDOC)

 and in accordance with the Court’s February 10, 2023 Memorandum and Order and submits the

 following Martinez report to assist the Court in further screening the merits of Christopher

 Erwin’s (Erwin) claims. This report is based upon affidavit testimony and official internal

 facility documentation available at the time of preparation. KDOC reserved the right to seek

 leave to supplement this report in the unlikely event additional evidence is discovered or

 becomes available.

       Plaintiff Erwin filed a pro se civil rights action pursuant to 42 U.S.C. §1983 in the United

States District Court for the District of Kansas. (Doc. 1). At all relevant times, Plaintiff was a

resident incarcerated in the custody of the Secretary of Corrections and was housed at the El

Dorado Correctional Facility (EDCF). From February 24, 2022 until October 19, 2022, Plaintiff

was housed at the Lansing Correctional Facility (LCF) in Leavenworth County, Kansas however,
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none of Plaintiff’s complaints occurred at LCF. On November 10, 2022, the Court entered a

Memorandum and Order to Show Cause, granting Plaintiff an opportunity to show good cause

why this action should not be dismissed due to deficiencies in Plaintiff’s Amended Complaint or

to file a second amended complaint to cure the deficiencies. (Doc. 7) Plaintiff filed a Second

Amended Complaint on December 14, 2022. (Doc. 9) On February 10, 2023, the Court issued an

order directing the preparation of a Martinez report. (Doc. 11). The Court ordered the report

focus on Plaintiff’s request for injunctive relief and why such relief is either unavailable or not

required by the Eight Amendment.

              SUMMARY OF ALLEGATIONS IN PLAINTIFF’S COMPLAINT

         In his Second Amended Complaint Plaintiff alleges that he was subjected to cruel and

 unusual punishment related to his medical care for his Type 1 diabetes. Plaintiff names sixteen

 defendants in his Second Amended Complaint and seeks the following injunctive relief:

 “carbohydrate info for each item on my prescribed medical diet; regular timing of meals; regular

 timing of insulin; shelf stable protein in my snack sack on my prescribed medical diet.” (Doc.9,

 at 203) According to his complaint, Plaintiff is an insulin dependent Type 1 diabetic on a calorie

 controlled diabetic diet prescribed by Centurion medical providers. Id. at 15. Plaintiff describes

 his blood sugar as being constantly out of control. Id. Plaintiff describes taking up to four insulin

 injections a day, testing his blood sugar up to four times a day, eating three meals and at least

 three snacks a day to manage his Type 1 diabetes. Id. He cites hypoglycemic and

 hyperglycemic risks of death, coma, pain and dementia and the risks of higher HbA1c including

 blindness, heart attacks, strokes, and renal failure. Id. He believes his scrotal swelling, bleeding

 and cracking, which was treated by the Department via an outside provider, to have been caused

 by his prolonged out of control blood sugars. Id. at 16
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                                         INVESTIGATION

        Plaintiff’s incarceration began on November 10, 2019, at the EDCF. (Exhibit 1) On

February 24, 2022, he was transferred to Lansing Correctional Facility (LCF) where he remained

until October 12, 2022. He was then returned to EDCF where he continues to be housed at the

time of this investigation.

                                          MEDICAL CARE

      Christopher Erwin receives medical care while incarcerated at EDCF from Centurion, who

is KDOC’s contracted medical care provider. Erwin has Type 1 diabetes and requires insulin and

glucose monitoring daily. (Affidavit of Paige Dodson, MD, ¶ 7) While at EDCF Erwin’s medical

needs have been thoroughly and regularly assessed. Id. Erwin is lucid, and able to contact medical

staff, who are available at any time. Id. at ¶ 5. Erwin is prescribed a diabetic, carb-controlled diet

deemed appropriate by the American Diabetes Association, that includes a medically prescribed

snack pack used to control his blood sugar as needed between meals. Id. at ¶ 8. All residents

prescribed this diet receive the same meal content and snacks. Id. Although Erwin claims it is

impossible to control his diabetes without knowing the carb count of his meal tray, his opinion and

belief is outdated. Id. at ¶ 9.   However, even if Erwin wanted to count carbs, he could easily do

that with the meals provided to him. Id. Erwin describes his blood sugar as “being constantly out

of control”, however, records indicate his blood sugar control has generally been near goal while

incarcerated. Id. at ¶ 10. Only two times has his blood sugar been over 7.5, on August 9, 2022

(8.7) and November 15, 2019 (8.0). Id. Mr. Erwin’s blood sugar levels have otherwise been

under 7.5. Id. Appropriate care was provided to Erwin to manage his diabetes at EDCF. Id. at ¶ 13.

      Erwin is housed in cell house B. Meal times in cell house B are scheduled, breakfast at 3:50

a.m., lunch at 10:00 a.m., and dinner at 3:30 p.m. (Buchholz Declaration, ¶ 4) If a resident requires
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his blood sugar be checked or insulin administered, an EDCF officer escorts Centurion medical staff

to ensure the medication cart remains out of reach of the resident and to protect medical staff. Id.

at ¶ 5. Common practice is for medical staff to dispense insulin ten to thirty minutes prior to meal

times. Id.

                                INTERFERENCES WITH MEDICAL
                                      TREATMENT
      At various times during his incarceration, Erwin has refused to take insulin and/or did

not take it as prescribed. (Dodson Affidavit, ¶ 11) Erwin is entitled to refuse medical care,

however doing so makes effective diabetic care difficult. Id. During the course of his diabetic

medical care, medical staff would suggest modifying his insulin to prescribe a different insulin

which Erwin would not agree with, as he wanted to dictate his own care which resulted in him

becoming very angry. Id. For example, Erwin wanted to go on long-lasting insulin and was

ultimately given long-lasting insulin, and then became unhappy he was on the long-lasting

insulin. Id.at ¶ 11. Erwin has very aggressive and violent behaviors which resulted in him

being placed in segregated housing. Id.at ¶ 7.

                DISCIPLINARY REPORTS INVOLVING MEDICAL CARE

      On June 14, 2021, Erwin approached COI Carroll upset because insulin line had not been

called over the intercom. Erwin threw a grievance form at COI Carroll, threatened to kill him,

threatened to chop his head off and began swinging his fists at COI Carroll. COI Carroll issued

Erwin a Disciplinary Report for Threatening and Intimidating, in violation of K.A.R. 44-12-306.

(Exhibit 6)

      On June 24, 2021, Erwin received two Disciplinary Report for conduct while in the insulin

line. Erwin blood sugar was high, nursing staff asked if he had eaten a cookie and he responded

by calling two nurses “bitch”. Attempts to calm him down failed and Erwin continued his
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 disrespectful and combative behavior. Based upon Erwin’s conduct, nursing staff secured the

 needles used to provide insulin due to safety concerns. Erwin was told to exit the insulin line,

 refused, and continued to refuse further directives, then battered Correctional Officer Hennessey.

 Erwin was issued a Disciplinary Report for Battery, in violation of K.A.R. 44-12-324, and

 Disobeying Orders, in violation of K.A.R. 44-12-304, (Exhibit 7)

       During the same incident, on June 24, 2021, Officer Hennessey signaled Officer Needs

 Assistance in the clinic based upon Erwin’s behavior. Officer Langley-Dunning responded.

 Attempts to deescalate Erwin failed and it became necessary to restrain him. Erwin rammed

 Officer Langley-Dunning in the chest with his shoulder. Erwin was issued a Disciplinary Report

 for Battery, in violation of K.A.R. 44-12-324. (Exhibit 8)

       On November 29, 2021, Erwin inquired as to the delay of Katrina Tittsworth (Tittsworth),

 RN who administers insulin. He was told there was a delay due to a medical emergency.        When

 medical staff arrived 9 minutes later, Erwin reached out the food port to grab Tittsworth, injuring

 her shoulder. Attempts to secure the port were made unsuccessfully by CSI Gadberry. Erwin

 threatened to kill CSI Gadberry and tried to grab him as well. COI Perez and COI Voegeli then

 attempted to secure the port and Erwin attempted to grab them through the open port. Erwin was

 given a Disciplinary Report for four counts of Assault, in violation of K.A.R. 44-12-323. (Exhibit

 9 and Tittsworth Affidavit, ¶ 8)

       On February 22, 2022, Erwin turned in a Form 9 that threatened to kill numerous staff of

KDOC, Centurion and Aramark. Erwin was issued a Disciplinary Report for Threatening and

Intimidating, in violation of K.A.R. 44-12-306 (Exhibit 10 and Buchholz Declaration ¶ 9)

       On February 24, 2022, Erwin received insulin from medical staff. After Erwin’s leg

restraints were removed, he kicked Correctional Officer Perez in the lower back. Correctional
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Officer Shields intervened to protect Correctional Officer Perez and Erwin kicked him in the lower

abdomen. Erwin was issued two Disciplinary Reports for Battery, in violation of K.A.R. 44-12-

324 for each Shield and Perez. (Exhibit 11 & 12)

       Conviction information for the above listed Disciplinary Reports is located on Exhibit 1,

KASPER report, page three.

       While in restrictive housing, on February 9, 2022, Erwin’s monthly administrative

segregation review was conducted in compliance with IMPP 20-105A. The recommendation of the

review board was to retain Erwin’s placement in administrative restrictive housing and cited violent

discipline history, battery on staff, attempting to batter medical staff, possessing a homemade

stabbing device and noted “Offender is argumentative, has a problem with authority. Offender

likes to challenge rules and policy’s [sic].” (Exhibit 13)

       Residents in restrictive housing also have daily reports created to document their mental and

physical condition, conduct, meals, and daily activities. The daily reports are made on a report

covering a week’s time. While in cellhouse B, Erwin’s report covering the dates of January 1, 2023

to January 6, 2023 note “took syringe hostage” in the additional comments section. (Exhibit 14)

                                     CANTEEN PURCHASES

       During the course of his medical care, Erwin was encouraged to take his medicine daily,

 limit caffeine, nicotine and alcohol. (Dodson Affidavit, ¶ 12) He was encouraged to maintain a

 healthy diet and was provided education on the dietary limitation of sodium, fatty foods, simple

 carbohydrates, and refined sugar and was encouraged to eat a diet in high in fruits, vegetables,

 whole grains, and low-fat dairy products. Id.
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      The Kansas Department of Corrections contracts with Kansas Correctional Industries

Commissary for its “canteen” services. (Bos Declaration, ¶ 2 & 3) Menu items are marked with

notations “low” or “no” to indicate menus items with no or low sugar. Id. at ¶ 5 Although

diabetic, Erwin regularly purchased items inconsistent with his diabetic medical diet and not

marked “no” or “low” in sugar content, including Lil’ Dutch Maid Chocolate Crème Cookies,

Lil’ Dutch Maid Lemon Crème Cookies, Lil’ Dutch Maid Peanut Butter Cookies, Sweet Desire

Dark Chocolate Bar, Sweet Desire Milk Chocolate Bar, Sweet Desire Milk and Almond

Chocolate Bar, Mrs. Freshley’s Buddy Bars and Swiss Rolls, Peanut and Plain M&Ms, Skittles,

Starburst, Chips Ahoy cookies, Jelly Beans, Twix candy bar, Milky Way candy bar, Reece’s

Pieces, Snickers candy bar, gummy bears, and holiday cookies. (Bos Declaration, Exhibit 1)

      Erwin has resources available to chill food items if he so desires. Snack pack contents are

prescribed to be eaten between meals to control blood sugars and are not medically prescribed to

be shelf stable, (Dodson, ¶ 8 Stevens, ¶ 6 ) Dinner in Erwin’s current cell house, cell house B, is

served at 3:30 p.m. and breakfast is served at 3:50 a.m. (Buchholz, ¶ 4) A review of his Erwin’s

canteen purchases shows he purchased a “Coleman 6 can cooler” on March 23. 2021. (Bos ¶ 8

and Bos, Exhibit 1) Also, if a resident does not possess a cooler, they can request a clear plastic

Tupperware type container with a lid to store ice. (Buchholz Declaration, ¶ 7) “Ice pass”, a

process to deliver ice to residents is conducted in the morning, staff permitting. Id. at ¶ 6.

During ice pass, an announcement is made and if a resident desires ice they turn on their light on

and be present at their door. Id. Erwin generally does not take ice during ice pass. Id. at ¶ 8.

                                            EXERCISE

      Erwin was encouraged to maintain a healthy weight and regularly exercise. (Dodson, ¶ 12)

Residents in restrictive housing have daily reports created to document their mental and physical
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condition, conduct, meals, and daily activities (including showering, exercise and clothing

change). (Moore Declaration, ¶ 4) Restrictive Housing residents are offered an hour of exercise

time each day. Id. Whether the resident took advantage of the exercise time offered is documented

on the daily report. Id. The daily reports are made on a report covering a week’s time. During

February 3, 2020, until May 6, 2023, while in restrictive housing, it appears Erwin only took

advantage of exercise eleven times. Id.

                             CARBOHYDRATE INFORMATION

      Kansas Department of Corrections contracts with Aramark Correctional Services

(Aramark) to exclusively provide food services to in all KDOC facilities. (Sicard Declaration, ¶

4) Aramark provided food service for specialized religious and medical diets in accordance with

its Kansas DOC Medical Nutrition Therapy & Religious Meals Manual (Manual), Revised

10/2019. Id. Carbohydrate information for meals and evening/PM snack are contained on pages

26, 27 and 28. Id. at ¶ 6, 7 & 8. Aramark is also required to comply with KDOC’s Internal

Management Policy and Procedures. (Bos, ¶ 14, Sicard , ¶ 8 )

                                      GRIEVANCES

       The process for reviewing resident grievances is contained in several Kansas

administrative regulations including K.A.R. 44-15-101 (Exhibit 20), Inmate or parolee grievance

procedure; informal resolution; formal levels describes the several levels of problem solving,

K.A.R. 44-15-101a (Exhibit 21), Grievance procedure distribution, orientation; applicability;

remedies; advisory committee; investigation requires grievance procedure regulations be

distributed or made readily available to all inmates and K.A.R. 44-15-102 (Exhibit 22),

Procedure, outlines the grievance procedure an inmate must use.
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       The Secretary’s Designee and Interstate Compact Administrator Darcie Holthaus

identified four relevant letters Erwin sent to the Secretary of Corrections regarding food service.

(Holthaus Declaration, ¶ 3) All four fail to follow the grievance procedure and/or fail to exhaust

administrative remedies. Id. at ¶ 4, 5, 6 and 7. On October 27, 2020, Houthaus’ predecessor

Douglas Burris (Burris) wrote Erwin, acknowledging he received Erwin’s correspondence, Form

9s and a letter requesting a copy of the 2800 calorie menu, nutritional information of the 2800

calorie menu and a change in the contents of his snack pack. Id. at ¶ 4. Burris noted Erwin had

failed to exhaust the grievance procedure before contacting the Secretary of Corrections and

returned his material so that he could properly do so. Id. On February 20, 2020, Burris again

wrote to Erwin regarding a food service grievance. Id. at ¶ 5. Burris indicated although records

showed Erwin filed a food service grievance with Aramark, which was answered, he had not

filed an appeal to the Secretary. Id. On August 10, 2021, Holthaus responded to Erwin after he

send a letter to the Secretary regarding medical staff and receiving insulin. Holthaus pointed out

that his grievance was still awaiting a response from the Warden and contacting the Secretary

was premature. Id. at ¶ 6. On May 27, 2021, Holthaus again responded to Erwin regarding a

letter of complaint he’d sent regarding his insulin, blood sugar, staffing, and the content of his

meals. Id. at ¶ 7. She returned his letter to him without a response due to it not following the

regulatory grievance process. Id.

                                          CONCLUSION

       Plaintiff alleges that, while housed at the EDCF, he has suffered cruel and unusual

punishment related to his Type 1 diabetes care administered by Centurion, KDOC’s contracted

medical provider. Contrary to Plaintiff’s assertions, Erwin’s medical needs, diabetic or

otherwise, have been thoroughly and regularly assessed. Erwin is provided insulin and glucose

monitoring numerous times a day, a prescribed diabetic diet with a snack pack to control blood
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sugar during meals, offered counseling on engaging in a healthful diabetic lifestyle including

exercise and smart canteen food choices. Contrary to Plaintiff’s claims his blood sugar is

“constantly out of control”, medical records show his blood sugars have generally been near

goal, with only two exceptions.     Mealtimes and insulin times are scheduled according to cell

house, although a facility emergency may cause a slight delay occasionally. Although Erwin

might prefer a shelf stable protein such as peanut butter, the prescribed medical purpose of the

snack pack is to be consumed between meals to regulate blood sugar levels, not requiring the

protein to be shelf stable. Even so, Erwin has a cooler, purchased on March 23, 2021, if his

desire was to refrigerate leftover snack pack items. Ice is provided to residents during an ice

pass, which Erwin generally does not take advantage of.

       Erwin frequently and consistently acts in a manner to circumvent, disrupt, or interfere

with his diabetic care provided by Centurion. He is difficult and combative with medical

recommendations, wanting to dictate his medical care. He has initiated numerous physical

altercations with medical staff as they attempt to provide him medical care, resulting in a

disruption of care. He does not follow advised food choices when selecting canteen items and

very rarely leaves his cell for daily cell exercise time.   Plaintiff’s medical records do not support

his claims of constitutional violations related to his diabetic care while at EDCF.

                                        Respectfully submitted,

                                        /s/ Laine C. Barnard
                                        Laine C, Barnard, KS No. 19467
                                        Legal Counsel
                                        Kansas Department of Corrections
                                        714 SW Jackson St, Suite 300
                                        Topeka, KS 66603
                                        Tel: (785) 506-7615
                                        Email: Laine.Barnard@ks.gov
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                                    EXHIBIT LIST

1. KASPER Profile for Christopher Erwin

2. Affidavit of Sarah Madgwick

3. Medical Records of Christopher Erwin (filed conventionally and under seal)

4. Affidavit of Paige Dodson, M.D.

5. Affidavit of Katrina Tittsworth, LPN

6. June 14, 2021 Disciplinary Report

7. June 24, 2021 Disciplinary Report

8. June 24, 2021 Disciplinary Report #2

9. November 29, 2021 Disciplinary Report

10. February 22, 2022 Disciplinary Report

11. February 24, 2022 Disciplinary Report

12. February 24, 2022 Disciplinary Report #2

13. February 9, 2022 Monthly Segregation Review

14. January 1-January 6, 2023 Daily Administrative Segregation Report

15. Declaration of Maria Bos, Deputy Warden

16. Declaration of Brian Buchholz, Unit Team Supervisor

17. Declaration of Matthew Moore, Deputy Warden

18. Declaration of Robert Stevens

19. Declaration of Shala Sicard

20. K.A.R. 44-15-101

21. K.A.R. 44-15-101a

22. K.A.R. 44-15-102

23. Declaration of Darcie Holthaus
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing REPORT IN
“MARTINEZ VS AARON” INVESTIGATION was placed in inter-facility mail this 9th day of
June 2023, to:

Christopher Erwin, #123078
El Dorado Correctional Facility
El Dorado, KS 67042
Plaintiff pro se

                                     /s/ Laine C. Barnard
                                     Laine C. Barnard
